               Case:18-14333-MER Doc#:40 Filed:06/08/18                                              Entered:06/08/18 17:15:39 Page1 of 3


 Fill in this information to identify the case:
 Debtor name Green Door Agro, Inc., a California corporation
 United States Bankruptcy Court for the: DISTRICT OF COLORADO                                                                                        Check if this is an

 Case number (if known):                18-14333-MER                                                                                                  amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Spartan Capital                                                                                                                                                      $1,000,000.00
 Securities, LLC
 45 Broadway
 9th Floor
 New York, NY 10006
 Eric Watson                                                                                                                                                              $41,042.00

 Morgan Lewis                                                                                                                                                             $25,539.00
 300 South Grand
 Avenue
 22nd Floor
 Los Angeles, CA
 90071
 Bold Legal                                                     Legal Services                                                                                            $22,436.87
 1600 Broadway
 Suite 1550
 Denver, CO 80202
 Hydrofarm                                                      Products and                                                                                              $15,152.62
 400 Burbank Street                                             Services
 Broomfield, CO
 80020
 All Seasons                                                    Products and                                                                                              $11,225.04
 Horticultural                                                  Services
 Products
 17614 Chatsworth
 Street
 Granada Hills, CA
 91344
 Roxul USA                                                      Products and                                                                                                $7,600.00
 P.O. Box 392400                                                Services
 Pittsburgh, PA
 15251
 California Dept. of                                            Sales Tax                                                                                                   $5,557.16
 Tax and Fee Admin.
 450 North Street
 Sacramento, CA
 95814


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 Debtor    Green Door Agro, Inc., a California corporation                                                    Case number (if known)         18-14333-MER
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Cameo Koch                                                     Products and                                                                                                $3,312.00
 Solstice Garden                                                Services
 Supply
 760 Mission George
 Place
 Suite B
 San Diego, CA
 92120
 Humboldt                                                       Products and                                                                                                $2,905.22
 Wholesale                                                      Services
 1162 Samoa Blvd.
 Arcata, CA 95521
 Target Specialty                                               Products and                                                                                                $2,026.78
 P.O. Box 14084                                                 Services
 Reading, PA 19612
 Central Garden and                                             Products and                                                                                                $1,972.36
 Pet                                                            Services
 File 57541
 Los Angeles, CA
 90074
 Chase                                                          Amounts owed to                                                                                             $1,712.27
 P.O. Box 659754                                                Chase Bank for
 San Antonio, TX                                                Credit Card
 78265                                                          Useage
 Ogblower                                                       Products and                                                                                                $1,390.00
 2130 Artesia Blvd.                                             Services
 Suite 111
 Redondo Beach, CA
 90278
 Global Garden LLC                                              Products and                                                                                                  $816.00
 19819 Hamilton                                                 Services
 Avenue
 Torrance, CA 90502
 Brinks                                                         Products and                                                                                                  $681.76
 P.O. Box 619031                                                Services
 Dallas, TX
 75261-9031
 Vonage                                                         Products and                                                                                                  $638.73
 Department 3151                                                Services
 P.O. Box 123151
 Dallas, TX 75312
 Isuzu Finance                                                  Products and                                                                                                  $532.10
 2500 Weschester                                                Services
 Avenue
 Suite 312
 Purchase, NY 10571
 Crown Lift Trucks                                              Products and                                                                                                  $486.71
 P.O. Box 641173                                                Services
 Cincinnati, OH
 45264-1173




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 Debtor    Green Door Agro, Inc., a California corporation                                                    Case number (if known)         18-14333-MER
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Los Angeles CO2                                                Products and                                                                                                  $422.50
 Services                                                       Services
 1478 East 99th
 Street
 Los Angeles, CA
 90002




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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